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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

MARVIN OWENS
Inmate No: 20232255
MDOC No: 767206

             Plaintiff,
                                            Case: 24-cv-10787-GAD-APP
-v-                                         Hon. Gershwin A. Drain

GARY SCHEUTTE, Jackson County
Sheriff, in his official capacity, only;

ANTHONY STEWART, Captain
Jackson County Sheriff’s Office,
Jackson County Jail, in both his official
and individual capacity,

MIKE COBURN, Lieutenant, Jackson
County Sheriff’s Office, Jackson County
Jail, in both his official and individual
capacity,

TIGGS CANTEEN SERVICES, INC.,
Michigan For profit corporation,

             Defendants.

       PLAINTIFF’S BRIEF ON DAMAGES PURSUANT TO ECF 17
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                   MOST CONTROLLING AUTHORITY
CASE LAW
Carey v. Piphus, 435 U.S. 247; 98 S.Ct. 1042 (1978).
Centro Familiar Cristiano Buenas Nuevas v. City of Yuma, 651 F.3d 1163,
1169 (9th Cir. 2011)
Haight v Thompson, 763 F3d 554 (CA 6 2014)
Hayes v. Vessey, 777 F.2d 1149(6th Cir. 1985)
Leach v. Shelby County Sheriff, 891 F.2d 1241(6th Cir. 1989)
Monell v Department of Social Services of City of New York, 436 U.S. 658;
98 S.Ct. 2018 (1978)
N. Ins. Co. v. Chatham Cnty., 547 U.S. 189, 193 (2006)
Opulent Life Church v City of Holly Springs, Miss. 697 F3d 279 (5th Cir. 2012)
Sossamon v Texas, 563 U.S. 277, 293; (2011)
Tanzin v. Tanvir, 529, U.S. 43; S.Ct. 486, (2020)
Tree of Life Christian Sch. v City of Upper Arlington, 905 F.3d. 357 (C A 6
2018)
Welch v Spaulding, 627 Fed.Appx. 497 (W.D. MI. 2015)
Young ex rel. Estate of Young v. Martin, 51 Fed. Appx. 509, 514-15 (6th
Cir.2002)
STATUTES
42 U.S.C §2000c, et. seq.
42 U.S.C. §1983




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   I. RLUIPA ALLOWS FOR DAMAGES AGAINST MUNICIPALITES AND
      SUBDIVISIONS OF MUNICIPAL GOVERNMENTS

      RLUIPA’s provision that authorizes a cause of action states that: “[a]

person may assert a violation of this chapter as a claim or defense in a

judicial proceeding and obtain appropriate relief against a government.” 42

U.S.C. §2000cc-2(a). There is no binding precedent in this district that

prohibits Adam from obtaining money-damages against Defendants.

      i.    Sossaman v. Texas Speaks Only to the Availability of RLUIPA
            Damages in the Face of Sovereign Sate Immunity

      The Supreme Court’s holding and rationale in Sossamon v. Texas, are

limited in abrogating the grant of sovereign immunity to the states in the U.S.

Constitution. “States in accepting federal funding, do not consent to waive

their sovereign immunity to private suits for money damages under RLUIPA.”

Sossamon v Texas 563 U.S. 277, 293; (2011).             This is unmistakable

language that clearly indicates that the Court’s analysis is based solely on

the concept sovereign immunity and does not, without further guidance

extend to an analysis of municipal liability.

   Throughout its analysis, the Court distinguishes its opinion from other

lines of cases, including those against municipalities where "appropriate

relief” provisions have led to an award of monetary damages. The majority



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in Sossaman squares its opinion with a contrary opinion in other cases

allowing money damages as “appropriate relief” by stating:

           “The Court’s use of the phrase “appropriate relief” in
           Franklin v. Gwinnett County Public Schools, 503 U. S. 60,
           and Barnes v. Gorman, 536 U. S. 181, does not compel
           a contrary conclusion [that the terms “appropriate relief”
           do not clearly create a money-damages action against
           the state where Congress did not speak with clarity]. In
           those cases, where there was no express congressional
           intent to limit remedies available against municipal
           entities under an implied right of action, the Court
           presumed that compensatory damages were available.
           Franklin, supra, at 73.” Sossamon, 563 U.S. at 288.

   Furthermore, the Court goes out of its way to reiterate that federal statutes

must contain clear and unequivocal language in order for states to waive

their sovereign immunity. As a result, the court concludes that RLUIPA’s

provision for “appropriate relief” “does not include suits for damages against

at State” Id. (emphasis added).

   “[P]olitical subdivisions of states, such as counties and municipalities . . .

are not shielded by sovereign immunity”) N. Ins. Co. v. Chatham Cnty., 547

U.S. 189, 193 (2006). The Sossamon Court in fact provides clear within its

opinion that municipalities do not enjoy sovereign. After discussing Franklin,

and other cases of municipal liability, the Court provides clarification in

footnote 6 that municipalities are nonsovereign stating that “those cases did


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not involve sovereign defendants, so the Court had no occasion to consider

sovereign immunity.” Since the Court determined that money damages are

not available against the sovereign, and because it acknowledges that

municipalities are not sovereign, Sossaman does not and cannot be argued

to prohibit damages under RLUIPA against a municipality for a violation of

its land use provision.

      ii.    Monetary Damages Are Appropriate Relief under RLUIPA

      The Sossamon court, as detailed above, clearly differentiated its

decision to deny damages against a state based on congress’s failure to

include an “express waiver provision” in RLUIPA with the need for congress

to include an express limitation on damages in a federal statute creating a

cause of action against a municipality. See generally Sossamon 563 at 286-

288 It is clear from the Court’s discussion that when a grant of authority from

congress allows for a private right of action against a municipality, there is a

presumption that a monetary award is available unless congress specifically

and explicitly limits the type of relief available.

      iii.   Tanzin Provides a Salient Explanation of the Definition of
             Appropriate Relief

   In Tanzin the Court quotes Sossaman stating that because appropriate

relief “is ‘open ended’ on its face, what relief is ‘appropriate’ is ‘inherently

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context dependent.” Tanzin v. Tanvir, 529, U.S. 43, 141 S.Ct. 486, 490-491

(2020) at (quoting Sossamon 563 US at 286). The Court further goes on to

explain that sometimes a damages award is not only appropriate relief, it is

the “only form of relief that can remedy some.. violations." Id at 492

(emphasis supplied) The Court then holds that "effective relief consists of

damages, not an injunction.” (quoting DeMarco v Davis, 914 F.3d 383, 390

(5th Cir 2019; Yang v Sturner, 728 F. Supp. 845 (DRI 1990)).

   Tanzin further reiterates that Congress is aware of how to limit remedies

and that a failure to expressly provide a limitation to the types of remedies

available for a suit authorized by federal statute creates the implication that

indeed damages are appropriate relief. Id at 492 (citing statutory language

of 29 USC 1132(a)(3) ("appropriate equitable relief") and 42 USC 2000e-

5(g)(1) ("equitable relief as the court deems appropriate").

   The Supreme Court, through its decision in Tanzin has clearly stated that

appropriate relief, when not addressing a sovereign state, includes, and

often times mandates the award of monetary damages. Tanzin clearly tracks

with other Supreme Court precedent which allows for monetary damages for

violation of a federal statute under an “appropriate relief” provision against a

municipality. It is incongruous to extend a decision based on a state’s




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sovereign immunity to municipalities in light of Tanzin as well as other clearly

established body of law as outlined throughout this brief. 1

      iv.    Haight v Thompson Like Sossamon Does Not Preclude
             Damages Against a Municipality for Violations of RLUIPA

      The prevailing case in the Sixth Circuit regarding the availability of

damages under RLUIPA is Haight v Thompson, 763 F3d 554 (CA 6 2014).

Like Sossaman, Haight is a case involving the institutionalized persons act

provision of RLUIPA and like Sossaman the Haight case involves an analysis

of what damages are available against a State. See generally Haight, 763

F3d at 560-561.

    The Haight Court expressly relies on the Sossamon sovereign immunity

analysis in its determination that appropriate relief does not encompass

money damages against a state. Id at 568-569. A thorough reading of Haight

clearly shows that just like Sossaman the matter turns on the statutory relief

provision of RLUIPA encompasses an express waiver of sovereign immunity

provision due to congress’s acting under its authority authorized by its

spending power. Id at 568.




1
 Plaintiff contends that the recent Supreme Court in Tanzin v. Tanvir, 141 S. Ct. at 493,
modiﬁed its ruling in Sossaman v. Texas, 563 U.S. 277 (2011), which allows damage claims
pursuant to RLUIPA.
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          At no point does the Haight Court address any issue related to an

interpretation of the remedies provision of RLUIPA outside the context of a

state and indeed limits its decision to the nature of the relationship between

two sovereigns.

          v.     The Sixth Circuit has Hinted That Haight Doesn’t Govern
                 Municipal Liability Under RLUIPA

      Tree of Life Christian Sch. V City of Upper Arlington 2 case, during the

appeal the Defendant municipality alleged that the case was moot because

there was an injunction and Tree of Life had abandoned its claim for money

damages. Id at 365. In its holding on that issue alone the Court held that

“Tree of Life has not abandoned its money-damages claim; nor did the district

court’s permanent injunction moot it.” Id at 365. It is clear from the Court’s

holding that the district court’s permanent injunction did not moot Tree of

Life’s claim for money-damages, that the Sixth Circuit felt that damages were

available as a result of a claim under RLUIPA’s Equal Terms provision.

Certainly, the Court would have been aware of its ruling in Haight at the time

that it decided Tree of Life and by not invoking its decision in Haight to state

that there is no claim of money damages and therefore the claim was mooted

by a district court injunction, the Court signaled that its interpretation of the



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    Tree of Life Christian Sch. v City of Upper Arlington, 905 F.3d. 357 (C A 6 2018).
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applicability of the remedies provision to municipalities was not covered or

abrogated by its prior decision.

         v. There is Persuasive Authority that Municipal Violations of RLUIPA
             Permit Money Damages
   There is ample proof outlined above that the Supreme Court has

interpreted “appropriate relief” to include money-damages in cases involving

municipalities brought under various federal statutes unless Congress has

explicitly limited the remedies provision. Following this line of precedent

several circuits have distinguished Sossamon’s sovereign immunity analysis

from RLUIPA land use violations.

   One such case is Opulent Life Church v City of Holly Springs, Miss. 697

F3d 279 (5th Cir. 2012). The 5th Circuit unequivocally held that "Money

damages are available under RLUIPA against political subdivisions of states,

such as municipalities and counties.” Id at 290 (citing Centro Familiar

Christiano Buenas Nuevas v. City of Yuma 651 F3d 253 260-261 (3dc 2007);

see also Mt. Healthy City Sch. Dist. D of Ed v Doyle 429 US 274 280-281,

(1977) (recognizing that political subdivisions of states do not enjoy Eleventh

Amendment immunity). They utilized the rationale in Sossamon, discussing

Franklin as cited above in holding, "Under Supreme Court precedent, money

damages are available against municipal entities unless "Congress has


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given clear direction that it intends to exclude a damages remedy" from a

cognizable cause of Action” Id (citing Sossaman at 131 S. Ct at 1660 (citing

Franklin v Gwinnett cnty pub schl 503 US 60, 70-71 (1992). Based on the

distinctions made in Sossaman as identified through Franklin the 5th Circuit

found that "RLUIPA contains no indication, much less clear direction, that it

intends to exclude a money damages remedy. Thus, municipalities and

counties may be held liable for money damages under RLUIPA but states

may not." Id.

   The Ninth and Third Circuits have also allowed for damages against a

municipality in RLUIPA land use violations like those at issue in this case

based on similar reasoning utilizing Sossamon’s own language to distinguish

between sovereign immunity enjoyed by States and municipalities who are

afforded no such protection. See generally, Centro Familiar Cristiano Buenas

Nuevas v. City of Yuma, 651 F.3d 1163, 1169 (9th Cir. 2011) (“The City of

Yuma, therefore, may be liable for monetary damages under RLUIPA.”);

Lighthouse Inst. for Evangelism, Inc. v. City of Long Branch, 510 F.3d 253,

260-61, 273 (3rd Cir. 2007).

   II.   PLAINTIFF IS ENTITLED TO DAMAGES UNDER COUNTS II
         THROUGH IV UNDER 42 U.S.C. §1983 FOR THE DEFENDANT’S
         VIOLATION OF PLAINTIFF’S CONSTITUTIONAL RIGHTS
         WHILE ACTING UNDER THE COLOR OF STATE LAW


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      It is well settled law that government, and governmental entities, who

   engage in the violation of plaintiff’s constitutional rights under the color of

   state law are liable for damages including compensatory, punitive and

   nominal damages. See generally: Carey v. Piphus, 435 U.S. 247; 98 S.Ct.

   1042 (1978).

      As it pertains to the Defendants’ in this case, under an application of

   prevailing case law regarding Constitutional violations in a law

   enforcement setting, damages are awardable when a law enforcement

   agency engages in or tacitly permits a policy, practice or custom that is

   violative of a Constitutional Right held by Plaintiff. See Generally Monell

   v Department of Social Services of City of New York, 436 U.S. 658; 98

   S.Ct. 2018 (1978). Under the Monell standard, a policy or custom can be

   inferred, even when there is an absence of a written policy, or even when

   a written policies are violated by government actors when there is no

   action taken for the violation. Id at 691 (holding Congress included

   customs and usages [in §1983] because of the persistent and widespread

   discriminatory practices of state officials. Although not authorized by state

   law, such practices.. could be so permanent and well settled as to

   constitute a ‘custom or usage’ with the force of law.” (quoting Adickes v

   S.H. Kress & Co., 398 U.S. 144, 167-168, 90 S. Ct. 4598, 1613 (1970).

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      Supervisory officials can be held liable for the acts of their subordinates

   only if plaintiff establishes that the supervisor failed to appropriately

   discharge h[er] supervisory duties, and that this failure resulted in a denial

   or deprivation of plaintiff's federal rights.” See e.g., Leach v. Shelby

   County Sheriff, 891 F.2d 1241, 1246 (6th Cir. 1989); Hayes v. Vessey, 777

   F.2d 1149, 1154 (6th Cir. 1985). The Sixth Circuit “has held a state official

   [is] liable for implementing or overseeing an unconstitutional policy, even

   without specific knowledge that the policy will cause harm to a particular

   plaintiff.” Young ex rel. Estate of Young v. Martin, 51 Fed. Appx. 509, 514-

   15 (6th Cir.2002).

      Additionally, there have been several cases in the Federal Sixth Circuit

   that have litigated this specific issue related to a Muslim incarceree’s

   rights to sufficient and appropriate accommodations for the Islamic holy

   month of Ramadan. Those cases involved timing, sufficiency, and

   appropriateness of the accommodations by law enforcement institutions.

   See generally Welch v Spaulding, 627 Fed.Appx. 497 (W.D. MI. 2015).

                                   CONCLUSION

      It is clear that Plaintiff has an avenue for damages for the violation of

   his First, Fourth, Fourteenth and Eight Amendment Rights at the hands of


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   Defendants through both the Religious Land Use and Institutionalized

   Persons Act as well as under 42 U.S.C. §1982. As such, this matter should

   proceed forward through the full litigation process including discovery and

   trial in order to enforce and ensure that Plaintiff’s legal and constitutional

   rights are preserved.




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